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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

 

Trijicon, Inc., et al.

 

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)
)
Plaintiff(s) )
§ Case No.: l:l?)-cv-01207
"' )
Kathleen Sebelius, et al. )
)
)
Defendant(S) )
AFFII)AVIT OF SERVICE

 

I, Ted Metzger, a Private Process Server, being duly sworn, depose and say:

That l have been duly authorized to make service of the Letter dated August 8, 2013, Surnmons, Civil Cover Sheet,
Verified Complaint, Certificate Required By LCvR 7.l of the Local Rules of the United States District Court for the
District of Colurnbia, Motion for Preliminary Inj unction and Memorandum In Support of Lavv In Support, [Proposed]
Order Granting Motion for Prelirninary Inj unction; and Attachrnents in the above entitled case.

Thatl am over the age of eighteen years and am not a party to or otherwise interested in this matter.

That on August 08, 2013 at 3 :46 PM, I served Eric H. Holder, Jr., United States Attorney General with the Letter dated
August 8, 2013, Summons, Civil Cover Sheet, Verit`led Complaint, Certit`icate Required By LCvR 7.1 of the Local
Rules of the United States District Court for the District of Columbia, Motion for Prelirninary Injunction and
Mernorandum ln Support of Lavv ln Support, [Proposed] Order Granting Motion for Preliminary lnjunction; and
Attachments at 950 Pennsylvania Avenue, NW, Washington, DC 205 30-0001 by Serving Steffon Edrnonds, Clerk, Who
stated that lie/she is authorized to accept service.

Steffon Edrnonds is described herein:
Gender:Male Race/Skin:Black Hair:Black Age: 25 Height: 6'0" Weight:170

I declare under penalty of perjury that l have read the foregoing information n ntained in the Affidavit of Service and
that the facts Stated in it are true and correct. `

    

 

 

1827 18th Street, NW
Washington, DC 20009-5526
(202) 667-0050

ID; 13'{)95343 Ciient Reference: N/A

